
USCA1 Opinion

	













                                [NOT FOR PUBLICATION]


                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS

                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-1605

                                   HAROLD PHILIPS,

                                Plaintiff, Appellant,

                                          v.

                                 NORTHROP &amp; JOHNSON,

                                 Defendant, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Joseph L. Tauro, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                  Cyr, Circuit Judge,
                                       _____________

                     Aldrich and Campbell, Senior Circuit Judges.
                                           _____________________

                                 ____________________


            Norman Ross on brief for appellant.
            ___________
            Merrill D.  Goldfarb with whom  Katz &amp;  Goldfarb was on  brief for
            ____________________            ________________
        appellee.

                                 ____________________

                                   January 14, 1997
                                 ____________________


















                      ALDRICH,  Senior Circuit  Judge.   Plaintiff Harold
                                _____________________

            Philips,  desirous of beginning  a charter  fishing operation

            out of  his home port  in St. Maarten,  Netherlands Antilles,

            contracted to buy a  boat, offered through a yacht  broker in

            Massachusetts.   After the purchase was  complete he embarked

            on  the voyage  home  only to  discover she  was structurally

            unsound.  He sued the broker, Northrup &amp; Johnson (hereinafter

            defendant),  under the Massachusetts  Uniform Commercial Code

            ("UCC"),  Mass. Gen. L.  ch. 106, and Mass.  Gen. L. ch. 93A,

            the consumer protection statute.  At the close of plaintiff's

            case the court  granted defendant's motion for judgment  as a

            matter of law.  Plaintiff appeals.  We affirm.

                                    I.  Background
                                        __________

                      Early  in 1994,  plaintiff began  perusing yachting

            magazines  in search of an appropriate boat.  He made contact

            with  defendant's employee,  George Georges  ("Georges"), who

            provided  him  with  information  on  several  vessels.    In

            September, plaintiff  arranged to inspect a  used 48-foot Egg

            Harbor sports fishing boat.  On  September 26, accompanied by

            his brother, Georges, and Frederick C. Rhodes ("Rhodes"), the

            boat's owner,  plaintiff engaged in a  so-called sea-trial in

            the Gloucester, Massachusetts harbor.   Forthwith he signed a

            purchase and sale  agreement and gave defendant  a deposit of

            $13,000.   The agreement gave  plaintiff two  days from  that

            date to conduct a survey of the boat and accept or reject it,



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            closing  to be a month later.   It also contained a provision

            disclaiming any express or implied warranties.

                      Plaintiff testified that when he discussed the need

            for a survey, Georges discouraged him, urging him instead  to

            accept  a  survey Rhodes  had  commissioned  a year  earlier.

            Plaintiff agreed but requested that Georges arrange insurance

            for the voyage  home.  (How plaintiff thought insurance could

            be so readily obtained is one of the mysteries in this case.)

            It  was agreed  that  the closing  would  not take  place  in

            plaintiff's absence.

                       In  due  course  plaintiff  wired   $117,000,  the

            balance  of  the  purchase  price,  into  defendant's  escrow

            account.   Thereafter, in  spite of  plaintiff's availability

            and  Georges' previous  assurances, the  closing took  place,

            defendant   paying  over   the   money  without   plaintiff's

            permission,  or his  presence.   On learning  this,  and that

            defendant  had not  obtained  the requested  trip  insurance,

            plaintiff  expressed his  anger  but later  that evening  had

            dinner with Georges.  The next day, without remonstrances, he

            took possession  of the  boat and departed  for St.  Maarten.

            Four days later, off the coast of Connecticut, the boat, made

            of fiberglass,  began to "flex."   Consulting engineers later

            determined that she was "hopelessly unseaworthy."







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                                   II.  The Issues
                                        __________

                      At  the start of the two day bench trial, the court

            determined that the sole issue  was whether defendant had the

            authority to disburse plaintiff's money.  Although this would

            appear to be somewhat less than the allegations raised in the

            complaint,  (and, indeed,  some  of  the evidence  received),

            plaintiff  agreed  with the  court  that this  was  "the main

            issue."  We take "main"  to mean "basic."  At the  same time,

            because it is difficult  to think plaintiff was not  woefully

            taken advantage of overall by defendant, we will deal briefly

            with other matters.

                                   III.  Discussion
                                         __________

                      A district court's entry of judgment as a matter of

            law  is  subject to  de novo  review.   Accordingly,  we must

            determine  whether the record, when viewed  in the light most

            favorable  to the plaintiff, provides  support for a  finding

            in his favor by  the trier-of-fact.  Schultz v.  Rhode Island
                                                 _______     ____________

            Hospital Trust Nat'l Bank,  N.A., 94 F.3d 721, 726  (1st Cir.
            ________________________________

            1996).

                      A.   UCC Claims
                           __________

                      First, Mass.  Gen. L. ch. 106,    2-314 provides an

            implied warranty of merchantability for all consumer goods or

            services.1   Once the implied warranty  attaches, any express


                                
            ____________________

            1.  Section 2-314 provides in relevant part:


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            disclaimer  contained in an agreement is void.  Mass. Gen. L.

            ch.  106,   2-316A.2  In  order to prevail  under this claim,

            however,  plaintiff must show that the seller of the boat was

            "a merchant with respect to goods of that kind."   Mass. Gen.

            L. ch.  106,   2-314.   Therein lies  plaintiff's difficulty.

            Because the statute does not extend to sales  between private

            individuals, Rhodes, the  seller of the  boat, is beyond  its

            reach.   Plaintiff therefore  attempts to place  defendant in

            the position of "seller," instead of broker.  

                      We have been unable  to discover any  Massachusetts

            case law that would allow us to perform this sleight-of-hand.

            Plaintiff's reliance on the "undisclosed principal" theory is

            misplaced.  The question of whether a party is an undisclosed

            principal is not, as  plaintiff would have it, a  question of

            which  party an  agent  represents at  any  given point,  but

                                
            ____________________

                      (1)  Unless  excluded   or  modified   by
                      section 2-316, a  warranty that the goods
                      shall be  merchantable  is implied  in  a
                      contract for their sale if the seller  is
                      a merchant with respect  to goods of that
                      kind.

            2.  Section 2-316A provides in relevant part:

                      Any language, oral or  written, used by a
                      seller or manufacturer of  consumer goods
                      or services, which attempts to exclude or
                      modify any implied warranties of consumer
                      goods  and  services,  which attempts  to
                      exclude or modify any  implied warranties
                      of  merchantability  and  fitness  for  a
                      particular purpose or  exclude or  modify
                      the  consumers'  remedies  for breach  of
                      those warranties, shall be unenforceable.

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            rather  whether  the   representation  and  the   principal's

            identity were disclosed.   Atlantic Salmon A/S v.  Curran, 32
                                       ___________________     ______

            Mass.  App.  Ct.  488,  492  (1992).    On  cross-examination

            plaintiff  admitted that he knew Rhodes was the seller of the

            boat and that  he understood the difference  between a broker

            and  a  seller.   Moreover,  the  agreement plaintiff  signed

            expressly names  Rhodes  as  the seller  as  well  as  naming

            defendant as  both  the listing  and selling  broker.   While

            plaintiff  may  well have  been  confused  about which  party

            defendant represented at any  particular time,3 it can  in no

            way  be   said  that   the  identity  of   a  principal   was

            "undisclosed."  No   reasonable   trier-of-fact  could   find

            otherwise.    We therefore  find  that defendant  is  not the

            seller of  the boat  within the  meaning of    2-314  and the

            implied warranty of merchantability is inapplicable.

                      B.   Chapter 93A Claims
                           __________________

                      Plaintiff  maintains  that  defendant   engaged  in

            unfair trade practices prohibited under Mass. Gen. L. ch. 93A

            by  disbursing his  money to  the seller  without permission.

            The  court, without  any  disagreement  on plaintiff's  part,




                                
            ____________________

            3.  We  note that the plaintiff  did not argue  here or below
            the  theory   that  dual  representation  requires  an  agent
            representing adverse  parties to  notify both parties  of the
            representation and obtain consent.   Jerlyn Yacht Sales, Inc.
                                                 ________________________
            v. Wayne R. Roman  Yacht Brokerage, 950 F.2d 60,  64 n.1 (1st
               _______________________________
            Cir. 1991).

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            treated  this  as  a  question  of agency  and  assumed  that

            defendant wasplaintiff'sagentforthepurposesofthistransaction.

                        Plaintiff  contends  that   the  court  erred  in

            finding  that plaintiff  "waived"  both Chapter  93A and  UCC

            claims by having dinner with Georges and taking possession of

            the boat.  What  the court actually ruled, however,  was that

            plaintiff's  actions  (or non-actions)  ratified  his agent's

            conduct.

                      Under Massachusetts  law, a principal  ratifies his

            agent's  unauthorized  act  if,  after  discovering  it,  the

            principal makes no  effort to repudiate.  Irving  Tanning Co.
                                                      ___________________

            v.  Shir, 295  Mass. 380,  384 (1936).   Ratification  may be
                ____

            express  or  implied.    Inn  Foods,  Inc.  v.  Equitable Co-
                                     _________________      _____________

            operative  Bank, 45 F.3d 594, 597 (1st Cir. 1995).  Plaintiff
            _______________

            admitted that, when given the closing papers after  the fact,

            he made no attempt to undo defendant's actions and even had a

            pleasant  dinner  with Georges  that  evening.   Rather  than

            demanding  his money  back, he  took the  boat the  next day,

            without insurance, and departed on the first leg of his trip.

            Based  on this  conduct  we cannot  say  that the  ruling  of

            ratification was erroneous.  Plaintiff presents a sympathetic

            case, but his failure to act on his dissatisfaction is fatal.

                      Affirmed.
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